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                             BLUESTEM BRANDS, INC.
                           7 (erroneously named as Fingerhut
                             and all Bluestem company)
                           8
                           9
                                                     UNITED STATES DISTRICT COURT
                          10
                                                   CENTRAL DISTRICT OF CALIFORNIA
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                          12   Jamal Rehman IN                                 Case No.
                               Amanda Leon Pro PER
                          13                                                   NOTICE OF REMOVAL OF
                                            Plaintiffs,                        ACTION TO THE UNITED
                          14                                                   STATES DISTRICT COURT
                               v.                                              FOR THE CENTRAL DISTRICT
                          15                                                   OF CALIFORNIA UNDER 28
                               Fingerhut and all Bluestem company,             U.S.C. § 1441(a), 28 U.S.C. §1331
                          16                                                   (FEDERAL QUESTION)
                                            Defendant.
                          17                                                   [Los Angeles County Superior Court
                                                                               Case No. EC065447]
                          18
                                                                               Complaint Filed: June 24, 2016
                          19                                                   Trial Date:    TBA
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                                 NOTICE OF REMOVAL OF ACTION TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
                                   DISTRICT OF CALIFORNIA UNDER 28 U.S.C. § 1441(a), 28 U.S.C. §1331 (FEDERAL QUESTION)
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                           1         TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR
                           2 THE CENTRAL DISTRICT OF CALIFORNIA:
                           3         PLEASE TAKE NOTICE THAT Defendant Bluestem Brands, Inc.,
                           4 erroneously named as “Fingerhut and all Bluestem company” (“Bluestem”), hereby
                           5 invokes this Court’s jurisdiction under the provisions of 28 U.S.C. § 1441(a) and 28
                           6 U.S.C. § 1331, and removes this action from state court to federal court pursuant to
                           7 28 U.S.C. § 1446(b).
                           8 A.      JURISDICTION
                           9         1.      Bluestem specifically alleges that this Court has federal question
                          10 jurisdiction over this action pursuant to 28 U.S.C. §§ 1441(a) and § 1331 because
                          11 Plaintiffs Jamal Rehman and Amanda Leon (“Plaintiffs”) allege causes of action
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                          12 arising under the federal Telephone Consumer Protection Act (“TCPA”), codified at
                          13 47 U.S.C. § 227, and the federal Truth in Lending Act (“TILA”), codified at 15
                          14 U.S.C. §§ 1602, et seq.
                          15 B.      STATEMENT OF THE CASE
                          16         2.      On June 24, 2016, Plaintiffs filed a Complaint in the Superior Court of
                          17 the State of California for the County of Los Angeles, designated as Case Number
                          18 EC065447 (the “Action”). Pursuant to 28 U.S.C. § 1446(a), a true and correct copy of
                          19 all process, pleadings and orders served upon Bluestem in this case is attached hereto
                          20 as Exhibit A.
                          21         3.      Plaintiffs appear to assert two causes of action, for violation of the TCPA
                          22 and violation of TILA. (Although Plaintiffs also assert that Bluestem violated “State
                          23 Usery [sic] Laws” and “State Consumer Protection Laws,” see Compl. at 3, Plaintiffs
                          24 do not identify the allegedly violated laws.
                          25 C.      BASIS FOR REMOVAL
                          26         4.      This Court has jurisdiction over this Action pursuant to 28 U.S.C. § 1331
                          27 because Plaintiffs allege causes of action under the TCPA and TILA, which are laws
                          28 of the United States.
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                                  NOTICE OF REMOVAL OF ACTION TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
                                    DISTRICT OF CALIFORNIA UNDER 28 U.S.C. § 1441(a), 28 U.S.C. §1331 (FEDERAL QUESTION)
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                           1          5.     Specifically, Plaintiffs’ Complaint alleges that Bluestem violated the
                           2 TCPA by “contacting Plaintiffs over 200 times with . . . non-emergency phone calls
                           3 from or on behalf of Bluestem Brands Inc[.] between 9/11/2009 and 11/15/14 using
                           4 an automated telephone dialing system and/or an artificial or prerecorded voice, in an
                           5 attempt to collect an alleged debt on a Fingerhut, Gettington or Paycheck Direct credit
                           6 account.” Compl., at 2. The Complaint further alleges that Bluestem violated TILA by
                           7 “targeting low income customers with bad credit (the Plaintiffs Jamal Rehman and
                           8 Amanda Leon) and charging them higher prices than other websites owned by the
                           9 same company.” Id. Adjudication of Plaintiff’s Complaint thus requires an analysis
                          10 and construction of federal law. Accordingly, this Action may be removed to this
                          11 Court by Bluestem pursuant to 28 U.S.C. § 1441(a) and § 1331 because this Court
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                          12 would have had original jurisdiction founded on Plaintiff’s claims arising under the
                          13 TCPA and TILA.1
                          14 D.       ALL PROCEDURAL REQUIREMENTS FOR REMOVAL HAVE BEEN
                          15          SATISFIED.
                          16          6.     Removal of this action is timely. 28 U.S.C. §1446(b) provides that a
                          17 notice of removal must be “filed within thirty [30] days after receipt by the defendant
                          18 . . . of a copy of [the Complaint]” 28 U.S.C. §1446(b). Although Bluestem has not yet
                          19 received effective service of the Summons or Complaint in this action, Bluestem
                          20 received a copy of a subpoena with the Summons and Complaint in this action by
                          21
                          22   1
                               Although Plaintiffs do not explicitly allege any state law claim, to the extent they
                          23 assert any state law claim was alleged in the Complaint, the Court would also have
                             supplemental jurisdiction over any such claim, because it “form[s] part of the same case
                          24 or controversy.” 28 U.S.C. § 1367(a). A state claim is part of the same case or
                             controversy if it shares a “common nucleus of operative fact” with the federal claim,
                          25 and if they would normally be tried together. See, e.g., Trustees of the Constr. Indus. &
                             Laborers Health & Welfare Trust v. Desert Valley Landscape Maint., Inc., 333 F. 3d
                          26 923, 925 (9th Cir. 2003). Here, any state law claim would be intertwined with and based
                             on Plaintiffs’ allegations of wrongdoing under the federal claims arising under the
                          27 TCPA and TILA, because the above-referenced allegations form the entire basis for the
                             Complaint. The Court should therefore extend supplemental jurisdiction over any state
                          28 law claims Plaintiffs claim to have alleged via the Complaint.
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                                   NOTICE OF REMOVAL OF ACTION TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
                                     DISTRICT OF CALIFORNIA UNDER 28 U.S.C. § 1441(a), 28 U.S.C. §1331 (FEDERAL QUESTION)
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                           1 U.S. mail (not certified or registered mail, not accompanied with a notice of
                           2 acknowledgement and receipt, and not addressed to an individual who may be served
                           3 on behalf of Bluestem). The subpoena enclosed with the Summons and Complaint is
                           4 stamped October 12, 2016, and these documents therefore could not have been sent
                           5 before that date. Even if Bluestem were construed to have been personally served
                           6 with the Summons and Complaint on October 12, 2016 (it was not), this Notice of
                           7 Removal would have been filed in accordance with the time period mandated by 28
                           8 U.S.C. §1446(b) and Rule 6(a)(1)(C) of the Federal Rules of Civil Procedure.
                           9         7.     Bluestem is the only named Defendant in the action and therefore no
                          10 consent of additional parties is required.
                                     8.     Venue lies in the United States District Court for the Central District of
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                          12 California pursuant to 28 U.S.C. §1441(a) because the Action was filed in this
                          13 District.
                          14         9.     As stated above, pursuant to 28 U.S.C. § 1446(a), a true and correct copy
                          15 of all process, pleadings and orders received by Bluestem from Plaintiffs in the
                          16 Action are attached hereto as Exhibit A.
                          17         10.    Written notice of the filing of this Notice of Removal will be promptly
                          18 served upon Plaintiffs. Bluestem will also promptly file a copy of this Notice with the
                          19 Clerk of the Superior Court of California, County of Los Angeles.
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                                  NOTICE OF REMOVAL OF ACTION TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
                                    DISTRICT OF CALIFORNIA UNDER 28 U.S.C. § 1441(a), 28 U.S.C. §1331 (FEDERAL QUESTION)
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                           1        WHEREFORE Bluestem prays that the above Action now pending against it
                           2 in the Superior Court of the State of California, County of Los Angeles, be removed
                           3 therefrom to this Court.
                           4
                               DATED: November 11, 2016                  DOLL AMIR & ELEY LLP
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                           6
                                                                         By:_/s/ Connie Y. Tcheng______________
                           7                                                  CONNIE Y. TCHENG
                           8                                             Attorneys for Defendant,
                                                                         BLUESTEM BRANDS, INC.
                           9                                             (erroneously named as Fingerhut
                                                                         and all Bluestem company)
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                                 NOTICE OF REMOVAL OF ACTION TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
                                   DISTRICT OF CALIFORNIA UNDER 28 U.S.C. § 1441(a), 28 U.S.C. §1331 (FEDERAL QUESTION)
